            Case 4:18-cr-00033-JLK Document 33 Filed 03/10/20 Page 1 of 8 CLPageid#:
                                                                            ERK'      104
                                                                               B OFFCCE U.:.DIST.COURT
                                                                                                                             ATDANVILLE,VA
  AO2458     (Rev.09/19-VAW Addi
                               tions05/17)JudgmentinaCriminalCase                                                               .FILED
              Sheet1         '                           .                                                                             -('
                                                                                                                                         .


                                       UNITED STATES DISTRICT COURT                                                     JULIA C.DUDLR C RK
                                                                                                                      BKAG
                                                                                                                         DEPUW CL
                                            w estel'
                                                   n Districtofvirginia
          UNITED STATESOF AM ERICA                                        JUD GM EN T IN A CR IM G A L CA SE
                             V.                                           Case N um ber: DVAW 418CRO00033-001
       CARL RAY KENNEDY                                                   Case N um ber:
                                                                          U SM N um ber:22694-084
                                                                          M ichaelA.N icholas,Esq.
                                                                          Defendant'sAttorney
THE DEFENDANT:
I
XIIpleadedguiltytocountts) 1(lesserincludedoffensc)
Z pleadednolocontenderetocountts)
   whichwasacceptedbythecourt.
Z wasfoundguiltyoncountts)
   afterapleaofnotguilty,

Thedefendantisadjudicatedguiltyoftheseoflbnses:
  Title & Section                N atureofO ffense                                                         Offense Ended               Count
18U.S.C.j2262(a) InterstateViolationofProtectionOrder                                                           06/03/2018                   1
(1)and(b)(5)




        Thedefendantissentencedasprovidedinpages2through                        8           ofthisjudgment.Thesentenceisimposedpursuantto
the Sentencing Reform Actof 1984.
Z Thedefendanthasbeenfoundnotguiltyoncountts)
Z Countts)                                  Z is Z azedismissedonthemotionoftheUnitedStates.
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                                                                                                                                                     ne
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thedefenBantmustnotifythecdurtandUnltedSfatesa-
                                              ttorney ofmaterialch-
                                                                  angesin-econ-
                                                                              omb
                                                                                fcoircumstances.
                                                                          03/10/2020
                                                                          DateofIm positionofJudgment

                                                                                        q
                                                                           '    -   N           '           ç
                                                                               natu'e ofJudge



                                                                          Jackson L.K iser,SeniorUnited StatesDistrictJudgç
                                                                          NameandTitleofJudge

                                                                         3Datl
                                                                             e
                                                                              îo aoa
               Case 4:18-cr-00033-JLK Document 33 Filed 03/10/20 Page 2 of 8 Pageid#: 105
AO2458        (Rev.09/19-VAW Additionsû5/17)JudgmentinCriminal
              CaseSheet2 -Hmrisomnent
                                                                                               Judgment-Page   2    of   8
D/FENDANT: CARLRAY KENNEDY
CA SE N U M BER :DVAW 418CR000033.001


                                                             IM PRISONM ENT

            Thedefendantisherebycom mittedtothecustodyoftheFederalBureauofPrisonsto beimprisonedforatotalterm of:

  30 m onthsto nm consecutive to any previously imposed state sentence.




     I
     EI ThecourtmakesthefollowingrecommendationstotheBureauofPrisons:
  D efendantreceive appropriate dnlg treatm entwhile im prisoned.



  I-l
   x Thedefendantisremandedtothecustody oftheUnitedStatesM arshal.
  I-I ThedefendantshallsurrendertotheUnitedStatesMarshalforthisdistrict:
            r-I at                                 I
                                                   ZI a.m. N p.m .      on

            r-I asnotifiedbytheUnitedStatesMarshal.
     r-l Thedefendantshallsurrenderforserviceofsentenceattheinstitutiondesignatedby theBureauofPrisons:
                                                                         .


            r-I before            on
        '
            I-I asnotifiedby theUnited statesMarshal.
            r-l asnotisedbytheProbation orPretrialServicesOftsce.


                                                                 RETURN
 Ihaveexecutedthisjudgmentasfollows:




            Defendantdeliveredon                                                   to

 a                                                   ,withacertifedcopyoftllisjudgment.


                                                                                             UNITED STATESG RSHAL

                                                                       By
                                                                                          DEPUTY UNITED STATESMARSHAL
            Case 4:18-cr-00033-JLK Document 33 Filed 03/10/20 Page 3 of 8 Pageid#: 106


AO2458 (Rev.09/19-VAW Additi
                           ons05/17)JudgmentinaCriminalCase
           Sheet3- SuperviscdRelease
                                                                                        Judgment-page   3   of      B
DEFENDANT: CARL RAY KENNEDY
CASE N UM BER:DVAW4l8CR000033-001
                                                  SUPERNISED RELEASE
Upon releasefrom im prisonment,youwillbeon supervisedreleaseforaterm of:
3 years.




                                                M ANDATORY CONDITIO NS
      Youmustnotcommitanotherfederal,stateorlocalcrime.
      (ilYoumustmakerestitutioninaccordancewithsections3663and36634,oranyotherstatuteauthorizingasentenceof
         restitution.(checkçapplicable)
      Y ou mustnotunlaw fullypossessacontrolledsubstance.
      Youmustrefrainfrom anyunlawfuluseofacontrolled substance.Youm ustsubmittoonedrugtestwithin 15daysofreleasefrom
      im prisonmentandatleasthvoperiodicdrugteststhereafter,asdeterm inedby thecourt.
               E()Theabovedlugtestingconditionissuspended,basedonthecourfsdeterminationthatyou
                  posea1ow risk offuturesubstanceabuse.(check(fapplicable)
      X YoumustcooperateinthecollectionofDNA msdirectedbytheprobationofficer.(checkkapplicabl
                                                                                            e)
      (& YoumustcomplywiththerequirementsoftheSexOffenderRegistratio'
                                                                    nandNotificationAct(34U.S.C.j20901,etseq.qas
           directedby theprobationom cer,theBureauofPrisons,oranystatesexoffenderregistration agencyinwhichyoureside,work,
           areastudent,orwereconvictedofaqualifyingoffense.(checkçapplicable)
      U(
       1Youmustparticipateinanapprovedprogram fordomesticviolence.(checkêapplicable)
 Y ou mustcomplywiththestandard conditionsthathavebeenadopted by thiscourtaswellaswithany otherconditionsontheattached
 Page.                                    .
             Case 4:18-cr-00033-JLK Document 33 Filed 03/10/20 Page 4 of 8 Pageid#: 107


AO2458      (Rev.09/19-VAW Additions05/17)JtldgmentinaCriminalCase
            Sheet3A - SupervfsedRele%e
 DEFENDANT                                                                                        Judgment-page    4     of        8
           : CAR.L M Y KENN EDY
 CASE NUM BER:DVAW 418CR000033-001
                                        STA NDARD CONDITIONS OF SUPER VISION

Aspartofyoursupervised release,you m ustcom ply with the following standard conditionsofsupel-vision. Theseconditionsare im posed
becausethey establishthebasicexpectationsforyourbehaviorwhileonsupervision andidentifytheminim um toolsneededby probation
ofticersto keepinformed,reporttothecoul-tabout,andbringaboutim provementsinyourconductandcondition.
     Youmustrezol'
                 ttotheprobationofficeinthefederaljudicialdistrictwhereyouareauthorizedtoresidewithin72hoursofyour
     releasefrom lm prisonment,unlesstheprobation officerinstrtlctsyou to reportto a differentprobation office orwithin a differenttim e
     fkam e.
     Afterinitially reporting to the probation office,you w illreceive instructiolisfrom the courtorthe probation officerabouthow and
     when you m ustreportto the probation officer,and you mustreportto the probation officeras instrtlcted.
     You m ustnotknowi    nglyleavethefederaljudicialdistrictwhereyouareauthorizedtoresidewithoutfirstgettingpermissionfrom the
     cotll4ortheprobationofficer.
     Youm ustanswertruthfully thequestionsaskedbyyourprobationofficer.
     Youm ustliveataplaceapprovedbytheprobation officer.lfyouplantochangewhereyotlliveoranythingaboutyotlrliving
     an'
       angements(suchasthepeopleyoulivewith),youmustnotifytheI    yobationofficeratleast10daysbeforethechange.Ifnotifying
     theprobationofticerin advanceisnotpossibleduetounanticipatedclrcum stances,youm ustnotify theprobationofficerwithin 72
     hoursofbecomingawareofachangeorexgectedchange.
     Yotlm ustallow theprobation officerto visltyouatany tim eatyourhom eorelsewhere,and you m ustpermitthe probation officerto
     takeanyitemsprohibitedbytheconditionsofyoursupelwisionthatheorsheobselwesin plainview .
     YouInustworkfulltime(atleast30hoursperweek)atalawfu!typeofemployment,unlesstheprobationoflicerexcusesyoufrom
     doing so.Ifyoudonothavefull-timeemploymentyoumusttly tofind full-timeemployment,unlessthegrobationofficerexcuses
     youfrom doingso.lfyouplantochangewhereyouworkoranythingaboutyourwork(suchasyourpositlonoryourjob
     responsibilities),youmustnotifytheprobationofficeratleast10daysbeforethechange.lfnotifyingtheprobationofficeratleast10
   daysin advance isnotpossible due to unanticipated circum stances,you m ustnotify the probation officerwithin 72 hoursof
   becoming awareofachangeorexpected change.
8. Y ou mustnotcomm unicate orinteractw ith som eoneyou know isengaged in crim inalactivity.lfyou know som eonehasbeen
   convicted ofa felony,you mustnotknowingly com municateorinteractwith thatperson withoutfirstgetting thepermission ofthe
   probationofficer.
9. lfyouarearrestedorquestionedby alaw enforcementofficer,yppmustnotifztheprobationofficerwithin72hpurs.
l0. Youmustnotown,possess,orhaveaccesstoaGrearm,ammunltlon,destructlvedevice,ordangerousweapon(l.e.,anythingthatwas
    designed,orwasmodifedfor,thespecificgurposeofcausingbodilyinjuryordeathtoanotherpersonsuchasnunchaltusortasers).
11. Youmustnotactorlnakeanyagreem entw lthalaw enforcelnentagencytoactasaconfidentialhumansourceorinform antw ithout
    firstgetting thepenmission ofthecourt.
l2. lftheprobationofficerdeterminesthatyouposeariskto anotherperson(includinganorganization),theprobation officermay
    requireyou to notify the person aboutthe risk and you mustcomply with thatinstruction.The probation officerm ay contactthe
    person and confirm thatyou havenotifiedthe person aboutthe risk.
13. You m ustfollow the instructionsofthe probation officerrelated to theconditionsofsupervision.



U .S.Probation O ffice U se O nly
A U .S.probationofficerhasinstructedm eontheconditionsépecifiedbythecourtandhasprovidedmewith awrittencopy ofthis
judglnentcontainingtheseconditions.Forfurtherinformationregardingtheseconditions,seeOvelwiew qflb'
                                                                                                 obationandsupervised
Release Conditions ,available at:?.tA.!sw.N.$,c5l/rJ.ç,Jz(?x.

Defendant'sSignature
            Case 4:18-cr-00033-JLK Document 33 Filed 03/10/20 Page 5 of 8 Pageid#: 108
 AO 2458     (Rev.09/19-VAW Additions05/17)JudgmentinaCriminalCase
             Shed 317-SupervisedRelease

 D EFEN DAN T: CART. RAY K EN NEDY                                                              Judgment-page     5    of        8
 CA SE N UM BER :DVAW 418CR000033-001

                                SPECTAL CONDITIONS O F SUPERW SION
1.Thedefendantshallpayanyspecialassessmentthatisimposedbythisjudgment.
2.Thedefendantshallregisterwithalllocalandstatcsexoffenderregistrationagenciesinanyjurisdictionwherethedefendantresides, is
em ployed,caniesavocation,isastudent,orisotherwiserequiredtoregisterby SORNA.                              '




3.Thedefendantshallparticipateinaproqram oftestingandtreatmentforsubstanceabuse,asapprovedbytheprobationoflicer,untilsuch
tim easthe defendanthassatisfied allrequlrem entsofthe program .

4.Thedefendantshallparticipateinaprogram of  ,m entalhealthteatm entfordom esticviolence,asapprovedby theprobationofticer,until
suchtim easthedefendanthassatisfiedallrequirem entsoftheprogram.
5.Thedefendantshallresideinaresidencefreeoffirearms, amm unition,destructivedevicesanddangerousweapons.
6.Thedefendantshallsubm ithisperson,property,house,residence, vehicle,papers,gcomputersasdefi
                                                                                            nedin 18U.S.C.j1030(e)(1),other
electroniccommunicationsordatastoragedevicesormediaj,oroffice,toasearchconductedbyaUnitedStatesprobationoft
                                                                                                          lcer.Failureto
subm itto a search m ay be groundsforrevocation ofrelease. Thedefendantshallwarnanyot
                                                                                    heroccupantsthatthepremisesmaybesubject
tosearchespursuantto'thiscondition.Anofticermayconductasearchpursuanttothisconditiononlywhenreasonablesuspicionexiststhat
thedefendanthasviolatedacondition ofhissupervislon andthaytheareastobesearchedcontainevidenceofthisviolation.
7.Thedefendantshallnotpurchase,possess,useoradministerany alcohol,orfrequentanybusinesseswhoseprim ary ftmction isto serve
alcoholic beverages.

8.Thedefendantshallnotcontactorcommunicate,directlyorindirectly,withpersonslessthan18yearsofageCminorsn).Thisincludes
com munication by any means,including verbal,written,telephonic,electronic orothercom munications. Theprohibition against
com munication w ith m inorsisintentionally wide-ranging,encompassing the transm ission ofany inform ation,whetherby audio,video,digital
orotherm eans. Itincludes,butisnotlim ited to,any com municationsviathe Internet,cellularphone,any cellularphone orcom puter
application,textmessage,sooialmedia,socialnetworking website,blog,peerto peerfile sharing network orotherm ethod. Thisprovision
doesnotencom passminorsw orking aswaiters,cashiers,ticketvendors,and sim ilarservicepositionswith whom the defendantmustdealin
orderto obtain ordinary and usualcomm ercialsew ices.

9.Thedefendantisauthorizedcontactwithminors1)whoarerelativesofthedefendant;2)whohavefamilialrelationswithrelativesofthe
defendant;or3)whohavebeen identifiedandapprovedbytheU.S.Probation Officer.Thecontactmay occuronlyinthepfesenceofanother
adultandwiththepriorapprovaloftheprobationofficer.In considering approvalofsuch contact,theprobationofficershouldmakean
individualizedinquiryandaparticularizedshow ingofneedforthecondition.
10.The defendant'sresidence and em ploymentshallbe approvedby theprobation officer. Any proposed change in residenceor
employm entmustbeprovided to theprobation officeratleast10 dayspriorto the changeandm ustbeapproved beforethe change m ay take
place.
11.The defendantshallsubm itto an evaluation by a qualified m entalhealth professional,approved by theprobation officer,who is
experiencedinthetrcatm entofsexualoffenders.Thedefendantshalltakea1lm edicationsreasonablyrelatedto hiscondition,completeall
trea'tm entrecomm endations, and abide by al1nlles,requirements,and conditionsim posedby the keatm entprovideruntildischarged from
treatm entby theprovider.

12.Thedefendantshallsubm ittorisk assessm entsandpsychologicalandphysiologicaltesting,whichm ayincludebutisnotlim itedto
polygraph orplethysm ograph exam inationsorotherspecific teststo m onitorthedefendant's com pliance.
13. The defendantshallnotify employers,fam ily m embers,and otherswith whom thedefendanthasregularcontactofthe defendant'ssex
offenderconditionsand thatthe defendantisunderthe supervision oftheprobation ofscer.
14.The defendantshallcontacttheprobation officerwithin 72 hoursofestablishing an ongoing romanticrelationship with anotherindividual
and provide theprobation officerwith infonuation aboutthe otherparty. Thedefendantshallalso inform the otherparty ofhispriorcrim inal
history concerning sex offenses.

15.Thedefendantshallnotfrequentanybusinesswhosegrimaryfunctionistoservealcoholicbeverages,if,accordingtoaqualificdsex
offendertreatmentprovider,such activity m ay interferew lth an ongoing treatm entregimen.
                Case 4:18-cr-00033-JLK Document 33 Filed 03/10/20 Page 6 of 8 Pageid#: 109
    AO2458      (Rev.09/19-VAW Addi
                                  tions05/17)JudgmentinaCrimi
                                                            nalCase
                Sheet417-Probation
.       -   .                                    .   .                                                                          f- .- Z
    .                                                                                        Judgm ent-page   6    of       8
    DEFEN DAN T : CARL M Y KENNEDY
    CA SE N U M BER :D VAW 418CR000033-001

                                        SPECIAL COO ITION S O F SUPERW SION
16.Thedefendantshallnotresideorlingerw ithin 100feetofanypark,schoolproperty,playground,arcade,amusem entpark,daycare
center,swimm ing pool,com munity recreation field,zoo,youth center,cam ival,circus,orotherplaces thatareprim arily used orcan
reasonablybeexpectedtobeusedby m inors,withoutpriorperm ission oftheprobationofficer.                                 .
           Case 4:18-cr-00033-JLK Document 33 Filed 03/10/20 Page 7 of 8 Pageid#: 110
AO2458   (Rev.09/19-VAW Additions05/17)JudgmentinaCriminalCase
         Sheet5-CriminalM onetaryPenalties
                                                                                          Judgment-page    7       ot*      8
DEFENDANT: CARL RAY KENNEDY
CASE M JM BER:DVAW 418CR000033-O01
                                           C        IN AI,M ONETM W PEN ALTIES
    The defendantmustpay the totalcrim inalm onetary penaltiesunderthe scheduleofpaym entson Sheet6.

         Assessm ent                     Restitlltion                Fine          AVAA Assessm entf           JVTA Assssm entfr*
TO TALS $ 100.00                     $                           $             S                          $


f-l Thedeterminationofrestitutionisdeferreduntil               .AnAmendedltldglnentinaCriminalCase(AO 245C)willbeentered
    after'
         such determination.

F-l Thedefendantmustmakerestitution (includingcommunityrestitution)tothefollowingpaycesintheamountlistedbelow.
    lfthedefendantm akesa partialpayment,each payee shallreceivean approximately propodioned payment,unlessspecified otherw ise
    intlzepriorityorderorpercentagepaymentcolumnbelow.However,pursuantto18U.S.C j3664(i),a1lnonfederalvictimsmustbe
    paid before the United Statesispaid.
N am eofPayee                                           TotalLoss**          Restitution O rdered         Priority or Percentage




 TOTALS

 I
 --I Restitution amotlntordered ptlrsuanttopleaagreement$
 F-l Thedefendantmustpayintereston restitution andafineofmorethan$2,500,unlesstherestitutionorfineispaid infullbeforethe
     tifteenthdayaqerthedateofthejudgment.pursuantto12U.S.C.j3612(9.A11ofthepaymentoptionsonSheet6maybesubject
     topenaltiesfordelinquencyanddefault,pursuantto 18U.S.C.û3612(g).                                      '

      The courtdeterminedthatthedefendantdoesnothavetheability to pay interestand itis ordered that:

      f-l theinterestrequirementiswaivedforthe            g-J restitution.
      I--1 theinterestrequirementforthe F-I fine I
                                                 --I restitution ismodifiedasfollows:

  *Amy,Vickey,andAndyChildPornography Victim AssistanceActof2012,Pub.L.No.1l5-299.
  **Justic,eforVictim sofTraftickingActof2015,Pub.L.No.l14-22.
  ***Findingsforthetotalamountoflossesarerequired underChaptersl09A,1l0,lIOA,and ll3A ofTitle lsforoffensescomm itted
  onorafterSeptember13,l994,butbeforeApril23,1996.
               Case 4:18-cr-00033-JLK Document 33 Filed 03/10/20 Page 8 of 8 Pageid#: 111
AO 2453       (Rev.09/19-VAW Additi
                                  ons05/17)JudgmentinaCriminalCase
              Sheet6-ScheduleofPayments
DEFENDANT: CARL RAY KENN EDY                                                                              Judgment- Page 8 of 8
CASE NUM BER:DVAW 418CR000033-0Q1
                                            SC H ED ULE O F PAY             '
                                                                              N TS
Havingassessedtiledefendant'sabilitytopay,thetotalcriminalmonetarypenaltiesaredueimmediatelyandpayableasfollows:
A ZX Lumpsumpaymentof$100.00             immediately,balancepayable
        IZ notlaterthan                        ,or
        IZ inaccordancewith ( Z C, I Z D, IrIE, IZ F or,I     Z Gbelow);or
B Z Paymenttobeginimmediately(maybecombiiled'with IZ C, IZ D, I    Z F,or I   Z G below);or
cI Z Paymentinequal                    (e.g.,weekly,monthly,quarterly)installmentsof$                                 overaperiodof
                           (e.
                             g.,monthsoryears),tocommence                          (e.g.
                                                                                       ,30or60days)afterthedateofthisjudgment;or
o EII Paymentinequal                                    (e.g.,weekly,monthly,quarterly)installmentsof$                overaperiodof
                           (e.g.,monthsoryears),tocommence                        (e.g.,30or60days)afterreleasefrom imprisonmenttoa
          tenn ofsupervision;or           '                   '         .
          Paymentduringthetennofsupervisedreleasewillcommencewithin                            (e.g.,30or60days)afterreleasefrom
          imprisonm ent.Thecourtwillsetthcpaymentplanbasedonanassessm entofthedefendant'sabilitytopayatthattime;or
F (((() Duringtheterm ofimprisonment,paymentinequal                              (e.g.,weekly'
                                                                                             ,monthly,quarterly)installmentsof
          $                  ,or              % ofthedefendant'sincome,whicheveris.grcater
                                                                                    .tocommence                   (e.g.,30or
          60days)afterthedateofthisjudgment;A'ND paymentinequal                      (e.g.,weekly,monthly,quarterly)
          installmentsof$                duringtheterm ofsupervisedrelease,tocommence                     (e.g.,30or60days)
          aherrelease from im prisonm ent.
          Specialinstnzctionsregarding the paymentofcrim inalm onetary penalties:



Anyinstallmentscheduleshallnotprecludeenforcementoftherestitution or5neorderby theUnitedStatesunder18U.S.C jj3613and
3664(n9.
Anyinstallmentscheduleissubjecttoadjustmentbythecourtatanytimeduringtheperiodofimprisonmentorsupervision,andthedefendant
shallnotify theprobation officerand theU .S.Attorney ofany change in the defendant'seconom ic circum stancesthatmay affectthe
defendant' sability to pay.                                                                                     .
A 1lcrim inalm onetarypenaltiesshallbem adepayabletotheClerk,U.S.DistrictCourt,210FranklinRd.,Suite540,Roanokc,Virginia24011,
fordisbursem ent.
Thedefendantshallreceivecreditforallpaymentspreviouslym adetow ardany crim inalm onetary penaltiesimposed.
Anyobligationtopayrestimtionisjointandseveralwithotherdefendants,ifany,againstwhom anorderofrestittztionhasbeenorwillbe
entered.
  Z JointandSeveral
      DefendantandCo-DefendantNamcsandCaseNumbers(includingdefendantnumber),TotalAmount,JointandSeveralAmount,and
      corresponding payee,ifappropriate.




  Z Thedefendantshallpaythecostofprosecution.
  Z Thedefendantshallpaythefollowingcourtcostts):
  1
  -1Thedefendantshallforfeitthedefendant'sinterestinthefollowingpropertytotheUnitedStates:



  Paymentsshallbeappliedinthefollowingorder:(1)assessment,(2)restitutionprincipal,(3)restitutioninterest,(4)AVAA assessment,
  (5)fineprincipal,(6)fineinterest,(7)communityrestimtion,(8)JVTA assessment,(9)penalties,and(10)costs,includingcostof
  prosecution and courtcosts.
